                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF WISCONSIN


ANTWON CORDERREL POWELL,

              Plaintiff,

      v.                                              Case No. 20-CV-951

CHAPLAIN KAREN KONRAD, et al.,

              Defendants.


                                        ORDER


       Plaintiff Antwon Corderrel Powell is representing himself. He filed a

complaint along with a motion to proceed without prepaying the filing fee. (ECF Nos.

1, 2.) Because Powell was incarcerated when he filed his complaint, the Prison

Litigation Reform Act (PLRA) applies. Under the PLRA, a plaintiff may proceed

without prepaying the full filing fee, but he must pay an initial partial filing fee when

funds exist. 28 U.S.C. § 1915(a)(2).

      On June 29, 2020, the court ordered Powell to forward to the clerk’s office an

initial partial filing fee of $31.60 by July 20, 2020. (ECF No. 5.) According to court

records, Powell has not paid the fee.

      The court understands that the COVID-19 pandemic has interfered with the

day-to-day operations of Powell’s institution. Even so, Powell still must keep the court

informed about his ability to pay the initial partial filing fee. The court will give

Powell another chance to pay the fee. However, if he does not do so by the new




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deadline or explain why he is unable to do so, the court will conclude that he no longer

wishes to pursue this case and dismiss it based on Powell’s failure to pay the filing

fee.

       IT IS ORDERED that, on or before November 16, 2020, Powell must either

pay the initial partial filing fee of $31.60 or provide the court with information about

why he is unable to do so. If Powell fails to do either by that date, the court will

dismiss this case without prejudice and without further notice to him. If the court

dismisses the case, Powell may refile his complaint at a later date, subject to the

relevant statute of limitations.

       Dated at Milwaukee, Wisconsin this 27th day of October, 2020.




                                               WILLIAM E. DUFFIN
                                               U.S. Magistrate Judge




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